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Attorneys for Plaintiffs

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UN[TED STATES DISTR.ICT COURT
CENTRAL DISTRICT OF CALIFORNIA

JIM ODIN K.E_VII_\I COPPIN and
JOHN COOK, mdlv}duall and on
b_ehalf of all others slmilar y
sltuated,

Plaintiffs,
v.

SEBASTIAN PARDO, SAMMY
BANDH_\H FILMS, LLC _a
Cahforma Limited Liabiil

om an , RABBIT B INI
FI_L S, LC, a California leited
Lla_bility _Company, and Does 1 to
10 mcluslve,

Defendants.

COMPLAINT _ _ _
[Class and Collectlve-Actlon Cornplalnt]

l. Section 226(a) and (e?:of the
California Labor Code, ailure to
Provlde Information on Pay Stubs

2. Section 1194.2 of the Ca]ifomia Labor
Code, Liquidated Damages

3. 29 U.S.C. § 216(b), Fair Labor
Standards Ac

DEMAND FOR JURY TRIAL

 

 

 

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COME NOW Plaintiffs, and for their causes of action against Defendants, allege:

 

 

QQRISILCTION AND VENUE
i. This is a civil action seeking restitution, damages and attomeys’ fees and
costs.
2. Venue as to Defendants is proper in thisjudicial district. Defendants

maintain an office, transact business, have an agent, or are found in the County of Los
Angeles and are within the jurisdiction of this Court for purposes of service of process.
The unlawful acts alleged herein had a direct effect on and were committed within the
State of California.

3. This Court hasjurisdiction pursuant to 28 U.S.C. § 1331. Furthermore,
under 28 U.S.C. § 1367, this Court may exercise supplemental jurisdiction over
Plaintiffs state-law claims. There are no grounds that would justify this Court’s
declining to exercise itsjurisdiction pursuant to 28 U.S.C. § 1367. §e§ 28 U.S.C.

§ 1367(0) (explaining grounds on which courts may decline to exercise supplemental
jurisdiction).

4. Pursuant to 29 U.S.C. § 216(b), Plaintiffs also bring this case individually
and as a collective action on behalf of similarly situated individuals who have been
employed by Defendants.

5. The true names and/or capacities, whether individual, corporate, associate or
otherwise, of defendants Does l to 10 inclusive, are unknown to Plaintiffs at this time,
who therefore sues said defendants by such fictitious names. When the true names and
capacities of said defendants have been ascertained, Plaintiffs will amend this complaint
accordingly. Plaintiffs are informed and believes and thereupon alleges that each
defendant designated herein as a Doe is responsible, negligently, intentionally,
contractually, or in some other actionable manner, for the events and happenings
hereinafter referred to, and caused injuries and damages proximately thereby to Plaintiffs

as is hereinafter alleged, either through said defendants‘ own wrong{i,ll conduct or through

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the conduct of their agents, servants, employees, representatives, officers or attorneys, or
in some other manner.
PARTIES

6. Plaintiffs John Cook (“Cook”), Kevin Coppin (“Coppin”), and J im Odin
(“Odin”) are individuals, who, during the time periods relevant to this Complaint, were
employed in the City and County of Los Angeles, State of California. In or about March
15, 2013, Defendants SEBASTIAN PARDO, SAMMY BANDINI FILMS, LLC, a
Califomia Limited Liability Company, RABBIT BANDINI FILMS, LLC, a Califomia
Limited Liability Company, and Does l to 10 inclusive, hired Plaintiffs to provide
services on the motion picture project. Exhibit l is part of a fllm permit for the
Production, dated March of 2013. Plaintiffs have not been paid according to law, despite
having worked eleven hour days on the project. Plaintiffs were not paid until June of
2013.

7. SAMMY BANDINI FILMS, LLC and RABBIT BANDINI FILMS, LLC,
were and are Califomia business entities, which at all times relevant herein, conducted
business within the County of Los Angeles, State of Califomia. SAMMY BANDINI
FILMS, LLC and RABBIT BANDINI FILMS, LLC were and are the production
companies for the Production and they are hereinafter collectively referred to as the
Corporate Defendants.

8. The lndividual Defendant Sebastian Pardo is an individual, who, during the
time periods relevant to this Complaint, worked in the County of Los Angeles, State of
California. On the Production, the Individual Defendant was the Producer and employed
Plaintiffs. In connection with the Production, the lndividual Defendant acted directly as
the employer of Plaintiffs and all members of the crew.

GENERAL ALLEGATIONS
9. Defendants employed Plaintiffs and other members of the crew on the

Production in and about March of 2013.

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l0. Plaintiffs were discharged from the Production in or about March of 20 l 3,
but were not timely paid for the work they performed for Defendants.

l l. At all relevant times mentioned herein, section 201.5 of the Califomia Labor
Code controlled final payment of wages to employees. Section 201 .5 of the Califomia
Labor Code provides a discharged employee shall be paid by the next regularly scheduled
payday. The regularly scheduled payday in the motion-picture industry and for the
Production was each Thursday.

l2. At all times relevant herein, section 204 of the Califomia Labor Code
provided in part:

All wages, other than those mentioned in Section 201, 201 .3, 202, 204.1, or

204.2, earned by any person in any employment are due and payable twice

during each calendar month, on days designated in advance by the employer

as the regular paydays. Labor performed between the lst and 15th days,

inclusive, of any calendar month shall be paid for between the 16th and the

26th day of the month during which the labor was performed, and labor

performed between the 16th and the last day, inclusive, of any calendar

month, shall be paid for between the lst and 10th day of the following

month.
Cal. Lab. Code § 204. By failing to pay Plaintiffs and members of the crew all wages
when due, Defendants violated section 204 of the Califomia Labor Code.

l3. Defendants did not compensate Plaintiffs and members of the crew as
required by section 201.5 of the Califomia Labor Code,

14. At all relevant times mentioned herein, section 203 of the Califomia Labor
Code provided:

If an employer willfully fails to pay, without abatement or reduction, in

accordance with Sections 201, 201.5, 202 and 202.5, any wages of an

employee who is discharged or who quits, the wages of the employee shall

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continue as a penalty form the due date thereof at the same rate until paid or
until action therefore is commence; but the wages shall not continue for
more than 30 days.

Cal. Lab. Code § 203.

15. At all relevant times mentioned herein, section 1194 of the Califomia Labor
Code provided:

Notwithstanding any agreement to work for a lesser wage, any employee

receiving less than the legal minimum wage or the legal overtime

compensation applicable to the employee is entitled to recover in a civil

action the unpaid balance of the full amount of this minimum wage or

overtime compensation, including interest thereon, reasonable attorney’s

fees, and costs of suit.

Cal. Lab. Code § l 194.

16. Plaintiffs and crewmembers were not timely paid the minimum wages
or overtime to which they were entitled.
l7. At all relevant times mentioned herein, section 226 of the Califomia
Labor Code provided:
(a) Every employer shall, semimonthly or at the time of each payment of
wages, hamish each of his or her employees, either as a detachable part of
the check, draft, or voucher paying the employee’s wages, or separately
when wages are paid by personal check or cash, an itemized statement in
writing showing (l) gross wages earned, (2) total hours worked by the
employee, except for any employee whose compensation is solely based on
a salary and who is exempt from payment of overtime under subdivision (a)
of Section 515 or any applicable order of the Industrial Welfare
Commission, (3) the number of piecerate units earned and any applicable

piece rate if the employee is paid on a piece-rate basis, (4) all deductions,

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provided, that all deductions made on written orders of the employee may be
aggregated and shown as one item, (5) net wages earned, (6) the inclusive
dates of the period for which the employee is paid, (7) the name of the
employee and his or her social security number, except that by January l,
2008, only the last four digits of his or her social security number or an
employee identification number other than a social security number may be
shown on the itemized statement, (8) the name and address of the legal
entity that is the employer, and (9) all applicable hourly rates in effect during
the pay period and the corresponding number of hours worked at each
hourly rate by the employee. The deductions made from payments of wages
shall be recorded in ink or other indelible form, properly dated, showing the
month, day, and year, and a copy of the statement or a record of the
deductions shall be kept on file by the employer for at least three years at the

place of employment or at a central location within the State of Califomia.

(e) An employee suffering injury as a result of a knowing and intentional
failure by an employer to comply with subdivision (a) is entitled to recover
the greater of all actual damages or fifty dollars ($50) for the initial pay
period in which a violation occurs and one hundred dollars (3100) per
employee for each violation in a subsequent pay period, not exceeding an
aggregate penalty of four thousand dollars ($4,000), and is entitled to an

award of costs and reasonable attomey’s fees.

(g) An employee may also bring an action for injunctive relief to ensure
compliance with this section, and is entitled to an award of costs and

reasonable attorney's fees.

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Cal. Lab. Code § 226. Defendants employed Plaintiffs and crewmembers, but failed to
provide them with the data required by section 226(a) of the Califomia Labor Code. For
example, Defendants failed to provide a detachable wage statement listing the applicable
hourly rates and the total hours worked at each such rate. All of the foregoing was
intentional misconduct of Defendants that injured Plaintiffs insofar as they were
subjected to conli,lsion and deprived of information to which they were legally entitled.

18. Plaintiffs will amend this Complaint to add a claim under section 2699 of the
Califomia Labor Code, the Labor Code Private Attomeys General Act of 2004. Section
2699 provides in subpart (a) and subparts (f) through (g):

(a) Notwithstanding any other provision of law, any provision of this code

that provides for a civil penalty to be assessed and collected by the Labor

and Workforce Development Agency or any of its departments, divisions,

boards, agencies or employees, for a violation of this code, may, as an

altemative, be recovered through a civil action brought by an aggrieved

employee on behalf of himself or herself and other current or former

employees

(f) For all provisions of this code except those for which a civil penalty is
specifically provided, there is established a civil penalty for a violation of
these provisions, as follows . . . (2) If, at the time of the alleged violation, the
person employs one or more employees, the civil penalty is one hundred
dollars ($ l 00) for each aggrieved employee per pay period for the initial
violation and two hundred dollars ($200) for each aggrieved employee per
pay period for each subsequent violation.

(g) Except as provided in paragraph (2), an aggrieved employee may recover
the civil penalty described in subdivision (f) in a civil action pursuant to the

procedures specified in Section 2699.3 filed on behalf of himself or herself

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COMPLA|NT

 

 

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and other current or former employees against whom one or more of the

alleged violations was committed. Any employee who prevails in any action

shall be entitled to an award of reasonable attorney's fees and costs. Nothing

in this part shall operate to limit an employee's right to pursue or recover

other remedies available under state or federal law, either separately or

concurrently with an action taken under this part.
Cal. Lab. Code § 2699.

19. Pursuant to section 2699 of the Califomia Labor Code, Plaintiffs contend
that they will be entitled to recover civil penalties on behalf of themselves and other
former or current aggrieved employees for Defendants’ violations of the Califomia Labor
Code and applicable provisions of the lndustrial Welfare Commission Wage Order No.
12 (“Wage Order 12”). § generally 8 Cal. Code Regs. § l l 120.

20. At all times relevant herein, section 210 of the Califomia Labor Code
provided:

In addition to, and entirely independent and apart from, any other penalty

provided in this article, every person who fails to pay the wages of each

employee as provided in Sections 204, 204b, 204.1, 204.2, 205, 205.5, and

l 197.5, shall be subject to a civil penalty as follows: (a) For any initial

violation, one hundred dollars ($IOO) for each failure to pay each employee;

(b) For each subsequent violation, or any willful or intentional violation, two

hundred dollars ($200) for each failure to pay each employee, plus 25

percent of the amount unlawfully withheld.
Cal. Lab. Code § 210.

21. Section l 197.1 (a) of the Califomia Labor Code provides:
Any employer or other person acting either individually or as an officer,
agent, or employee of another person, who pays or causes to be paid to any

employee a wage less than the minimum fixed by an order of the

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commission shall be subject to a civil penalty as follows:

(l) For any initial violation that is intentionally committed, one hundred
dollars ($ l 00) for each underpaid employee for each pay period for which
the employee is underpaid.

(2) For each subsequent violation for the same specific offense, two hundred
fifty dollars ($250) for each underpaid employee for each pay period for
which the employee is underpaid regardless of whether the initial violation is

intentionally committed.

Cal. Lab. Code § 1197.1.

22. The Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 216, provides,

in pertinent part:

Any employer who violates the provisions of section 6 or section 7 of
this Act [29 USCS §§ 206 or 207] shall be liable to the employee or
employees affected in the amount of their unpaid minimum wages, or their
unpaid overtime compensation, as the case may be, and in an additional
equal amount as liquidated damages . . . An action to recover the liability
prescribed in either of the preceding sentences may be maintained against
any employer (including a public agency) in any Federal or State court of
competentjurisdiction by any one or more employees for and in behalf of
himself or themselves and other employees similarly situated. No employee
shall be a party plaintiff to any such action unless he gives his consent in
writing to become such a party and such consent is filed in the court in
which such action is brought. The court in such action shall, in addition to
any judgment awarded to the plaintiff or plaintiffs, allow a reasonable

attomey‘s fee to be paid by the defendant, and costs of the action.

29 u.s.C. § 216(b).

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FLSA COLLECTIVE-ACTION ALLEGATIONS

23. ln this collective action, Plaintiffs seek to represent all natural persons who
were employed by the Defendants on the Production and who were not paid in
accordance with the Fair Labor Standards Act, 29 U.S.C. §§ 206 and 207, within the
relevant time period (“Collective Action”).

24. Plaintiffs are similarly situated with the members of the Collective Action in
that:

(a) Plaintiffs and the members of the Collective Action were employed by
Defendants;

(b)Plaintiffs and the members of the Collective Action were not timely
compensated for all the hours they worked under the FLSA;

(c) Defendants knowingly and willfully violated provisions of the FLSA, by
not paying Plaintiffs and the members of the Collective Action their wages
when due;

(d) As a result of the Defendants’ policy and practice of withholding
compensation for all hours worked, including minimum wages and
overtime compensation, Plaintiffs and the members of the Collective
Action have been similarly damaged.

25. This action is maintainable as an “opt-in” collective action pursuant to 29
U.S.C. § 216 (b) as to claims for liquidated damages and attorneys’ fees and costs under
the FLSA.

26. All members of the Collective Action during the relevant time period should
be given notice and be allowed to give their consent in writing, i.e. “opt in,” the collective

action pursuant to 29 U.S.C. § 216 (b).

FIRST CLAIM FOR RELIEF

(Failure to Provide Information on Pay Stubs, Califomia Labor Code § 226
On Behalf of Plaintiffs Against Corporate Defendants)

27. Plaintiffs replead, reallege, and incorporate by reference each and every

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allegation set forth in the preceding paragraphs of this Complaint,

28. The Corporate Defendants failed to timely provide Plaintiffs and, on
information and belief, the other members of the crew with pay stubs conforming to the
requirements of section 226 of the Califomia Labor Code. For example, the wage
statements do not reveal the legal name and address of the employer, as required by law.

29. Plaintiffs have not received wage statements as required by section 226(a),
so obviously, have not been provided the required information delineated in section
226(a). The Corporate Defendants have knowingly and intentionally failed and refused
to provide the required data. The failure caused Plaintiffs and, on information and belief,
other members of the crew injury by depriving them of information to which they are
legally entitled and causing confusion and wasted time as a result.

30. Accordingly, Plaintiffs are entitled to damages in the amount of $50.00 each,
or damages in an amount according to proof, and costs and reasonable attorney’s fees in

accordance with the provisions of Califomia Labor Code section 226 (e).

(Cal,i__mms§ss~rasr )
On Behalf of Plaintiffs Against orporate Defendants Only)

31. Plaintiffs replead, reallege, and incorporate by reference each and every
allegation set forth in the preceding paragraphs of this Complaint.

32. During their employment by the Corporate Defendants on the Production,
Plaintiffs and the other members of the Crew worked many hours without timely
compensation for the work they performed, as required by law. The Corporate
Defendants have failed to pay Plaintiffs and the other members of the Crew their
minimum wages as required by section 1194 of the Califomia Labor Code.

33. Plaintiffs are entitled to recover their minimum wages, liquidated damages,
attomeys’ fees, and costs of suit under sections 1194 and 1194.2 of the Califomia Labor

Code, in an amount according to proof, at least $88 each in liquidated damages

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COMPLAINT

 

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l THIRD CLAIM FOR RELIEF
(Fair Labor Standards Act, 29 U.S.C. § 216_

2 On Behalf of Plaintiffs and Collective Action Against All Defendants)

3 34. Plaintiffs replead, reallege, and incorporate by reference each and every
4 allegation set forth in the preceding paragraphs of this Complaint,

5 35. At all times relevant herein, 29 U.S.C. § 203(d) of the Fair Labor Standards
6 Act defined employer as “any person acting directly or indirectly in the interest of an
7 employer in relation to an employee.” 29 U.S.C. § 203(d). At all times herein,

3 Defendants acted directly or indirectly in the interest of an employer in relation to

9 Plaintiffs and members of the Collective Action.
10 36. Defendants, by not paying Plaintiffs and the members of the Collective

11 Action the wages due and owing to them, when due, have violated the Fair Labor
12 Standards Act, 29 U.S.C. § 206, by failing to provide at least minimum wages to

13 Plaintiffs and members of the Collective Action.

14 37. Under 29 U.S.C. § 216(b), Plaintiffs are entitled to recover minimum wages

15 and/or overtime, liquidated damages, attomeys’ fees and costs, all according to proof.
16 Putative Collective-Action Members are entitled to be paid liquidated damages in an
17 amount according to proof, at least $289 each in liquidated damages, Plaintiff and

13 putative Collective-Action Members are entitled to attorneys’ fees and costs, in

19 accordance with 29 U.S.C. § 216 (b).

:(: WHEREFORE, Plaintiffs pray judgment as follows:

w l. That this Court certify the proposed Collective Action.

23 2. That, under the First Claim for Relief, the Court enterjudgment in favor of
24 Plaintiffs against the Corporate Defendants Thatjudgment be entered in favor of

25 Plaintiffs in the amount of $50.00 each, or according to proof, and costs and reasonable
26 attorneys’ fees in accordance with the provisions of Califomia Labor Code section

27 226(e), in an amount estimated to total approximately $3,800.

28 3. That, under the Second Claim for Relief, this Court enterjudgment in favor

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of Plaintiffs and against the Corporate Defendants for their improperly paid wages,
liquidated damages, attomeys’ fees and costs, according to proof pursuant to sections
l 194 and l 194.2, in an amount estimated to total approximately $7,400.

4. That, under the Third Claim for Relief, this Court enterjudgment in favor of
Plaintiffs and the members of the Collective Action and against all Defendants in the
amount of their improperly paid minimum wages and/or overtime wages, liquidated
damages, according to proof, costs, and attomeys’ fees, in accordance with 29 U.S.C. §
216(b), in an amount approximated to total $100,000.

5. For such other and further relief as this Court may deem fit and proper.
Plaintiff demands trial byjury as to all causes of action.

DATED: August 5, 2013 HARRIS & RUBLE

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Alali i~Iarris \`~/
Attorneyfor' Plaintiffs

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Case 2:13-cV-05768-I\/|I\/|I\/|-E Document 1

Alan maris (sBN 1460'19)
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Email: han‘isa@harrlsandruble.com

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UNITED STATES DISTR]CT COURT
CENTRAL DIS'I'RICT OF CALIFORNIA

Ti?n odin, nevin coppin, and John cwa v?ii`viduany
and on behalf of all others similarly situated,

PLAINTII"F(S)

k

v.

Sebastian Pardo, Sammy Bandini Films, LLC a
Califomia L'united Liability Company, Rabbit Bandini
Films, LLC, and Does 1 to 10 inclusive,

DEFENDANT(s).

CASE NUMBI£R.

SUIV[MONS _

 

 

 

'I`O: DEFENDANT(S):
A lawsuit has been filed against you.

Within 21
must serve en the plaintiff an answer to the attached

 

[] counterclaim Cl cross-claim or a motion under Rule 12 of
or motion must be served on the plaintiffs attorn , Alul\ Harris Of Harris & Ruble

days after service of this summons on you (not counting the day you received it), you

complaint El amended complaint
the Federal Rules of Civil Procedure. The answer
. whose address is

 

6424 Sa.nta Monica Blvd. Los Angelea, CA 9003

judgment by default will be entered against you for the
your answer or motion with the court.

nasa AUG ~ 8 2013

 

. If you fail to do so,
relief demanded in the complaint. You also must file
Cierk, U.S. Disufict Court

MARl-LYN DAVIS
Deputy Clerk

By:

 

 

(Seal ofthe Courl)

[U.re 60 days ifthe defendant is the United States or a Unircd Sraies agency, or is an owner or cnmloyee ofthe Unltea' States. Ah'owed

60 days by Role !2(11)(3)].

 

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SUMMONS

Case 2:13-cV-05768-I\/|I\/|I\/|-E Document 1 Filed 08/08/13 Page 15 of 17 Page |D #:18

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OP CALIPORN]A

NOT!CE OF ASSIGNMENT TO UNITED STATES ]UDGES

This case has been assigned to District ]udge Margaret M. Morrow and the assigned
Magistrate ]udge is Charles F. Eick

The case number on all documents filed with the Court should read as follows:
2:13-CV-5768-MMM (Ex)

Pursuant to General Order 05-07 of the United States District Court for the Central District of
Califomia, the Magistrate ]udge has been designated to hear discovery related motions.

All discovery related motions should be noticed on the calendar of the Magistrale ]udge.

Clerl<. U. S. District Court

 

 

 

 

 

 

Augusf 8, 2013 BY MDAVIS
Date Deputy Clerk
NOTICE TO COUNSEI..

A copy of this notice must be served with the summons and complaint on 1111 defendants ( if a removal action is
filed, a copy of this notice must be served on all plainti@is).

Subsequent documents must be filed at the following location:

J Weslern Division 1:] Southern Division 1:| Eastern Division
312 N. Spring Streei, G-S 411 West Fourth St., Ste 1053 3470 Twelfth Street, Room 134
Los Angc|es, CA 90012 Santa Ana, CA 92701 Rlverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

 

CV-IB (OBI | 3'| NOTICE OF ASSIGNMENT `l`O UNI'FRD-!\'FATES ]UDGBS

Case 2:13-cV-05768-I\/|I\/|I\/|-E Document 1 Filed 08/08/13 Page 16 of 17 Page |D #:19

JIM ODIN, KEV|N CD|"FIN and JOHN CDOK. lndhildl.ially and on behalf of all others

similarly situated

unrrso se rr ` ‘;1$1'iiicr coun'r,csu'ritai. oisrnicr or r`

, Cl\|'ll. COVER Sl-IEET
l. (a) FLA|NT|FFS ( Chedt box if you are representing yourself 1:] 1

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(Check box l[you are representing yourself l____| )

SEBAS'I'IAN PARDO, SAMMY BANDIN| FlLMS, LLC, ncallfomla Llrn|lad Liability
Company, RABBIT BANDlNl FILMS, LLC,a Califomla lelted Llablllty Company, and

 

(b) Attorneys (Firm Name. Address and 'lelephone Number. lfyou

are representing yourself.

de same.l

Alan Harris (SBN 146019). HARNS & RUBLE, 6424 Santa Monlca Boulevard,
Los Angeles, CA 90033 Tel: 323.962.3?17 Faie 323.962.3004.
E-mall: harrlSthan|sandruble.com

 

(b) Attomeys (Flrm Narne, Address and Telephone Number. lfyou
are representing yourse|f, provide same.)

 

 

 

 

 

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